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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


  ANGELINALANZO NAVARRO,                              CIVIL NO.:
  MIRSONIA NIEVES LANZO, SAMUEL
  NIEVES LANZO, ROBERTO NIEVES
  LANZO

  Plaintiffs
                                                      FEDERAL TORTS CLAIMS ACT
                          v.                          MEDICAL MALPRACTICE

  UNITED STATES OF AMERICA

  Defendant




                                       COMPLAINT

TO THE HONORABLE COURT:

       COME NOW, Plaintiffs through the undersigned attorney and most respectfully

STATE and PRAY as follow:

                                    I. JURISDICTION

       1.      This Honorable Court has jurisdiction over the parties and the subject

matter of this litigation pursuant to 28 U.S.C. § 1331 and under the Federal Torts Claim

Act 28 U.S.C.§ 346(b), 2671- 2680, arising out of the actions and omissions of the United

States Department of Veterans Affairs, its employees, affiliates, agents, contractors, and

representatives.

       2.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(a) since

the claims alleged arose in this judicial district.




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                            II. NATURE OF THE ACTION

        3.     This is a civil action to recover from damages suffered by plaintiffs and

deceased Mr. Samuel Nieves due to lack of proper medical care at the VA Medical

Caribbean Health Care System to veteran Samuel Nieves (herein after “Mr. Nieves).

                                     III. PARTIES

4.        Plaintiffs, ANGELINA LANZO NAVARRO (Mr. Nieves’ widow), MIRSONIA

NIEVES LANZO (Mr. Nieves daughter), SAMUEL NIEVES LANZO (Mr. Nieves’

son) and ROBERTO NIEVES LANZO (Mr. Nieves’ son) are residents of Urb. Villa

Fontana, Via 40, 4YS13, Carolina, Puerto Rico 00986. Plaintiffs are the heirs of Mr.

Nieves.

        5.    Defendant UNITED STATES OF AMERICA is the entity in charge of

overseeing the funding and administration of the Department of Veterans Affairs and/or

VA Medical Caribbean Health Care System.            United States is the employer of all the

physician, medical staff and/or personnel who treated and provided medical attention to

veteran Samuel Nieves at the facilities of VA Medical Caribbean Health care System

(herein after referred as the “VA Hospital”).

                                       IV. FACTS

        6.    On February 26, 2019, Mr. Nieves was admitted to the VA Hospital with a

sigmoid volvulus as seen on CT Scan.

        7.    On that same date, Mr. Nieves underwent a decompressive therapeutic

colonoscopy, and a rectal tube was placed to maintain the decompression.

        8.    On February 27, 2019, Mr. Nieves underwent a second decompressive

therapeutic colonoscopy at the bedside with replacement of a new rectal tube. Medical



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record notes indicated that the reason was accidental removal of rectal tube the day

before.

       9.     On March 1, 2019, Mr. Nieves underwent what was recorded in them

medical record as a sigmoid colon resection with end colostomy by VA Hospital

physicians, Dr. Sorrentino and Dr. Salgado.

       10.    The medical record reflect that on March 2, 2019 the colostomy was found

with edematous mucosa and minimal output.

       11.    On March 4, 2019 Mr. Nieves was examined by VA Hospital physician, Dr.

Mariluz Rivera, who noted that the patient continues with non-functional ostomy and

abdomen is distended with dilated palpable colon. Dr. Rivera further notes: concerned

for colonic obstruction at this point, discussed the possibility of bedside colonoscopy thru

the ostomy to decompress the colon and evaluate the causes of poor function.

       12.    On March 4, 2019 Mr. Nieves underwent a colonoscopy via the colostomy

which was performed by Dr. Karla Echevarria, surgical resident at the VA Hospital. Dr.

Echevarria noted: colonoscope inserted through colostomy. Insertion continued until the

scope exteriorized through anus. Distal segment of colon exteriorized during OR

procedure.

       13.    On that same date, Dr. Sorrentino dictated a staff note stating the following:

              a.     The case was performed under local anesthesia and intravenous

                     sedation.

              b.     The dilated sigmoid volvulus was exteriorized after rectal tube

                     discontinued as colon could not be brought out together with rectal

                     tube.



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                    c.      At the first operation the distal end of colon was inadvertently

                            exteriorized and proximal end was returned into the abdomen.

           14.      On that same date, Mr. Nieves underwent a second operation by VA

physicians, Dr. Sorrentino and Dr. Salgado. The surgical findings included: massively

distended colon, distal colon previously matured into mucus fistula.

           15.      The second procedure included formation of a proximal end colostomy.

There is no mention on medical record of closure of the previous colostomy.

           16.      The procedure was listed as: exploratory laparotomy, partial colectomy

with end colostomy.

           17.      On March 8, 2019, VA physician Dr. Feliciano noted: colostomy with upper

border dehiscence and fecaloid material was draining.

           18.      On March 10, 2019, the medical record states that open wound cephalad to

ostomy with fibrin and fetid odor. Mr. Nieves was kept NPO1 and started TPN2.

           19.      On March 13, 2019, Mr. Nieves was examined by VA physician, Dr. Baerga,

who noted: surgical wound infection, clean and inspect closely to r/o collection given

erythema.

           20.      On March 19, 2019, VA physician, Dr. Baerga noted: surgical wound

infection, extending around ostomy.

           21.      After 39 days at the VA Hospital, on April 5, 2019, Mr. Nieves was discharge

to Community Living Center (CLC) for ongoing wound care and rehabilitation.

           22.      On May 5, 2019, Mr. Nieves was sent to the emergency room with acute

onset of abdominal pain. A CT Scan was performed, and it showed: diffuse dilation of


1
    Nothing by mouth
2
    Total parenteral nutrition

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small bowel loops throughout the abdominal pelvic cavity. Small gas bubbles in the

nondependent portion of several small bowel loops of concern for pneumatosis.

       23.    Mr. Nieves was readmitted to the VA Hospital’ Intensive Care Unit on May

7, 2019. The admission note indicated: surgical service evaluated the patient at ED and

found recommended IM management despite signs of surgical complication. The VA

Hospital’s gastroenterologist noted: surgical evaluation and recommendations are

incongruent with above findings. Emergent re-evaluation will be requested for proper

assessment and evaluation.

       24.    The medical record noted that: patient clinical status worsening, case was

discussed with General Surgery Resident and STAT evaluation was requested.

       25.    Notes from the medical record indicated: patient appears to have intra-

abdominal catastrophe.

       26.    Mr. Nieves was pronounced dead at 17:04 on May 7, 2019.

       27.    Mr. Nieves died 67 days after an operation complicated by an avoidable

technical error in the operative suite requiring re-operation.

       28.    As a result of the second operation required to correct the mistake made

during the first operation, Mr. Nieves suffered a prolonged post-operative course

complicated by a surgical wound infection requiring ICU level care for 34 days.

       29.    Given Mr. Nieves deconditioned state, he required admission to an ancillary

rehabilitative hospital to assist in his recovery and for ongoing wound care needs in the

treatment of his post-operative wound infection.

       30.    During his rehabilitation, Mr. Nieves developed abdominal pain, presented

to the emergency show, showed radiographic evidence of as well as clinical presentation



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representative of intestinal obstruction, progressive ischemia, and sepsis directly related

to his prior surgeries for which he died.

                                V. CAUSES OF ACTION

       31.    The allegations contained in paragraph No.1 through No.13 of this

complaint are incorporated by reference as is fully set forth herein by plaintiff Michael

Rivera.

       32.    Under the Federal Tort Claims Act, the United States is liable for all the

damages caused to plaintiffs and Mr. Samuel Nieves by the negligence and medical

malpractice of the VA Hospital agents, doctors and/or medical personnel who treated Mr.

Samuel Nieves.

       33.    The care provided to Mr. Nieves by the VA Hospital fell below the standards

of care resulting in his death. Further, the failures and mischaracterizations of the

employees of the VA Hospital were the proximate cause of his death.

       34.    The medical staff of the VA Hospital had a duty to utilize due care and follow

accepted medical standards in providing medical treatment and care to Mr. Nieves.

       35.    Said medical staff breached their duty, were negligent and committed

medical malpractice because the treatment provided to Mr. Nieves deviated from

accepted standards of care.

       36.    VA Hospital physicians and/or medical staff failed to correctly identify the

afferent limb for maturation of a colostomy which can only be characterized as a technical

error requiring re-operation and correction.

       37.    VA Hospital physicians and/or medical staff failed to perform a

confirmatory procedure prior to leaving the operative suite in avoidance of maturing the

efferent limb of the colon which is standard practice.

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       38.    VA Hospital physicians and/or medical staff failed to meaningfully

participate in the post-operative care of Mr. Nieves.

       39.    VA Hospital physicians and/or medical staff deviated from the standards of

care by mischaracterizing the CT scan findings of pneumatosis and diffuse dilation od

small bowel loops as nonspecific and further failing to recognize the significance of those

findings in conjunction with the clinical presentation of Mr. Nieves on arrival to the

emergency room.



                                      VI. DAMAGES

       40.    The allegations contained in paragraph No. 1 through No.39 of this

complaint are incorporated by reference as is fully set forth herein by plaintiffs.

       41.    As a direct result of the defendant’s negligence and omissions, plaintiffs

suffered excruciating mental anguishes.

       42.    Plaintiff Angelina Lanzo Navarro’s damages are estimated in the amount of

one million dollars ($1,00,000.00).

       43.    Plaintiff Mirsonia Nieves Lanzo’s damages are estimated in the amount of

one million dollars ($1,000,000.00).

       44.    Plaintiff Samuel Nieves Lanzo’s damages are estimated in the amount of one

million dollars ($1,000,000.00).

       45.    Plaintiff Roberto Nieves Lanzo’s damages are estimated in the amount of

one million dollars ($1,000,000.00).

       46.    Veteran Samuel Nieves suffered excruciating physical damages and

emotional distress due to the negligent acts and/or omissions of VA Hospital, those



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damages are also claim by his heirs, plaintiffs. Veteran Samuel Nieves damages are

estimated in amount of four million dollars ($4,000,000.00).

                                 VI. PRAYER FOR RELIEF

          WHEREFORE, it is respectfully requested that Judgment be entered by this

Honorable Court in favor of the plaintiffs and against the defendant:

          A. Granting Plaintiffs the sums requested in the Complaint.

          B. Imposing upon the defendant the payment of all costs and expenses to be

incurred in this lawsuit.

          C. Granting the Plaintiffs any other relief that they may be entitled to as a matter

of law.

          D. Awarding plaintiffs a reasonable amount for attorney’s fees.

          RESPECTFULLY SUBMITTED

          In San Juan, Puerto Rico, this 27th day of February, 2021.




                                             Attorney for Plaintiff:

                                             S/MICHELLE ANNET RAMOS JIMENEZ
                                             MICHELLE ANNET RAMOS JIMENEZ
                                             USDC-PR 225303
                                             E-mail: michellean2000@yahoo.com
                                             Capital Center Building.1, Suite 401
                                             239 Arterial Hostos Avenue
                                             San Juan, Puerto Rico 00918
                                             Phone: 787-763-1780
                                             Fax: 787-763-2145




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